     Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 1 of 29




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                     :
POLYSCIENCES, INC.                   :
                                     :
     Plaintiff,                      :   Civil Action No. 2:20-cv-03649-PBT
                                     :
             v.                      :
                                     :
JOSEPH T. MASRUD,                    :
MATHEW GRIFIN, and                   :
SEROCHEM LLC,                        :
                                     :
     Defendants/Counter Claimants.   :
                                     :
                                     :
MATHEW GRIFFIN,                      :
                                     :
     Counter-Plaintiff,              :
                                     :
             v.                      :
                                     :
SCOTT A. KNORR,                      :
                                     :
     Counter-Defendant.              :
                                     :

      MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
TO DISMISS PLAINTIFF’S AMENDED COMPLAINT AND FOR ATTORNEYS’ FEES
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 37(b)
          Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 2 of 29




                                                       Table of Contents




I.        INTRODUCTION .............................................................................................................. 1
II.       PROCEDURAL HISTORY/BACKGROUND .................................................................. 2
     A.   POLYSCIENCES FAILED TO SUFFICIENTLY IDENTIFY ITS ALLEGED
          MISSAPROPRIATED TRADE SECRETS IN RESPONSE TO MASRUD
          INTERROGATORY NO. 5. ......................................................................................................... 3
     B.   POLYSCIENCES REFUSES TO COMPLY WITH THE COURT’S JULY 6, 2021 ORDER
          (ECF 47) COMPELLING IT TO IDENTIFY THE ALLEGED MISAPPROPRIATED
          TRADE SECRETS WITH “REASONABLE PARTICULARITY” IN RESPONSE TO
          MASRUD INTERROG NO. 5 ...................................................................................................... 6
     C.   POLYSCIENCES CONTINUES TO REFUSE TO IDENTIFY THE ALLEGED
          MISAPPROPRIATED TRADE SECRETS WITH “REASONABLE PARTICULARITY”
          IN RESPONSE TO SEROCHEM INTERROG NOS. 1-3......................................................... 8
III.      LEGAL REASONING ..................................................................................................... 14
     A.   POLYSCIENCES HAS NOT COMPLIED WITH THE COURT’S ORDER ...................... 14
     B.   DUE TO ITS CONTEMPT POLYSCIENCES’ AMENDED COMPLAINT SHOULD BE
          DISMISSED WITHOUT PREJUDICE PURSUANT TO RULE 37(b) ................................. 21
IV.       CONCLUSION ................................................................................................................ 23




                                                                    i
           Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 3 of 29




                                                        Table of Authorities


CASES
Arconic, Inc. v. Novelis Inc., No. 17-1434, 2019 WL 10787764 ................................................. 15

AutMed Techs., Inc. v. Eller, 160 F. Supp. 2d 915, 926 (N.D. Ill. 2001) ..................................... 16

Hill v. Best Medical Int’l, Inc., Nos. 07-1709, 08-1404, 2010 WL 2546023, at *4 (W.D. Pa. June
  24, 2010) ................................................................................................................................... 15

IDX Sys. Corp. v. Epic Sys. Corp., 285 F.3d 581, 583 (7th Cir. 2002).......................................... 20

Mallet and Co. Inc. v. Lacayo et al., 16 F.4th 364, 393, n.22 (3d Cir. 2021) ................................ 19
Mextel, Inc. v. Air-Shields, Inc. et al., No. 01-CV-7308, 2005 WL 226112, * 42 (E.D. Pa. Jan.
 31, 2005) ................................................................................................................................... 18

Oakwood Lab’ys LLC v. Thanoo, 999 F.3d 892 (3d Cir. 2021) ................................................... 17

Poulis v. State Farm Fire & Cas. Co., 747 F.2d 863, (3d Cir. 1984) ........................................... 22

Struthers Sci and Int’l Corp. v. General Foods Corp., 51 F.R.D. 149 (D. Del. 1970)................. 16

Synygy, Inc. v. ZS Associates, Inc. et al., 2013 WL 3716518, *2 (July 15, 2013).................. 16, 19

USSA v. Mitek Systems, Inc., 289 F.R.D. 244, 249 (W.D. Tex. 2013) ......................................... 15

Vesta Corp. v. Amdocs Mgmt. Ltd., 147 F. Supp. 3d 1147, 1155 (D. Or. 2015) .......................... 19




                                                                        ii
        Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 4 of 29




                                Index of Exhibits (attached)
Exhibit A:   Polysciences initial and supplemental answers to Masrud Interrog Nos. 4 and 5

Exhibit B:   ECF 47 - Court Order dated July 6, 2021 (ECF 47) ordering Polysciences to
             supplement its answer to Masrud Interrog No. 5

Exhibit C:   Masrud deficiency letter dated July 29, 2021 re: Polysciences failure to comply
             with Court Order

Exhibit D:   Polysciences August 6, 2021 letter response to deficiency letter

Exhibit E:   Masrud Letter to Judge Tucker dated August 30, 2021 requesting stay of
             discovery pending Polysciences compliance with Court Order

Exhibit F:   Polysciences August 31,2021 response letter to Judge Tucker

Exhibit G:   Polysciences December 3, 2021, Answers to Serochem trade secret Interrog Nos.
             1-3 (filed under seal)

Exhibit H:   February 3, 2022 printout from Polysciences website showing link to abstract of
             Thomas and Longo papers at URL
             (https://www.polysciences.com/default/polyethylenimine-max-mw40000-high-
             potency-linear-pei#references)

Exhibit I:   February 3, 2022 printout from internet waybackmachine at of Polysciences PEI
             product page prior to July 22, 2020 at URL
             (https://web.archive.org/web/20181204151244/https://www.Polysciences.com/def
             ault/Poly2-ethyl-2-oxazoline-mw-5000)

Exhibit J:   Internal email from Leena Thuruthippallil dated July 22, 2020 requesting removal
             of information from Polysciences’ PEI product page “ASAP” (POLYSCIENCES
             23502) (filed under seal).

Exhibit K:   Sunain Katoch et al., Optimization of PET Glycolysis Process by Response
             Surface Methodological Approach: A Two-Component Modelling Using
             Glycolysis Time and Temperature, 2012 ISRN Polymer Science 1–9 (2012)

Exhibit L:   Sonja Bauhuber et al., A library of strictly linear poly(ethylene glycol)–
             poly(ethylene imine) diblock copolymers to perform structure–function
             relationship of non-viral gene carriers, 162 JOURNAL OF CONTROLLED
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Exhibit M:   Masrud deficiency letter dated January 21, 2022 re: Polysciences Answers to
             Serochem Interrog Nos. 1-3

Exhibit N:   Polysciences January 28, 2022 response letter

                                              iii
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 5 of 29




                         Index of Additional Exhibits Referenced
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      transfection purpose and linear pei obtained with such method,” No. US20100197888A1
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      delivery efficiency and specificity to mouse lung, 102 PROCEEDINGS OF THE NATIONAL
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      Potential Implications for Biomedical Applications?: Partial Hydrolysis of Poly(2-ethyl-
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      Production, Purification, and Titering, 8 CURRENT PROTOCOLS IN MOUSE BIOLOGY e56
      (2018)




                                             iv
        Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 6 of 29




        This action involves claims by Polysciences that Masrud and Griffin (former employees

of Polysciences), misappropriated Polysciences’ alleged trade secrets in connection with the

development and manufacture of competing PEI transfection reagent products through their

company, Serochem.1 Polysciences filed this action knowing that all information necessary to

develop and manufacture a competing PEI transfection reagent is publicly available and/or based

on industry know-how. As such, over a year and a half after Polysciences filed this action, it has

yet to identify its alleged trade secrets with particularity despite the Court’s July 6, 2021 Order

(ECF 47) requiring it to do so.

        Instead, it has continuously and broadly claimed that everything about its PEI transfection

reagent products is a trade secret. It claims specificity merely because it identified catch-all

categories of alleged trade secrets and directed Defendants to over a thousand pages of

documents containing this catch-all information. Moreover, while Polysciences cited 6 alleged

similarities in the “workflow” used by both Polysciences and Serochem in its latest response to

trade secret discovery, all of the “similarities” are based on publicly available information and/or

industry know-how. Polysciences refused to clarify whether it considers these alleged

similarities trade secrets – even when directly asked. As such, and not surprisingly, on

December 3, 2021, and for the first time in this action, Polysciences claims that its trade secret

consists of a “unique combination or compilation” of information. It refuses, however, to

identify any such combination or compilation with “sufficient particularity” as ordered by the

Court. Moreover, its states that additional similarities will be identified through experts when


1
 Serochem manufactures and sells two competing products: (1) PEI Prime Powder, Transfection Grade Linear
Polyethylenimine and (2) PEI Prime AQ 1 mg/mL Liquid Transfection Reagent.


                                                     1
        Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 7 of 29




such reports are due. In other words, it reserved the right to provide further particularity in its

expert reports, which will not be due until at or after the close of discovery. This delay is in

direct violation of the Court’s July 20, 2021 Order.

        No excuse exists for Polysciences’ failure to comply with the Court’s Order. This case

has been pending for almost 1.5 years and Polysciences has been in possession of documents and

information produced by Defendants sufficient to identify any alleged misappropriated trade

secretes for over a year. It is no coincidence that while Polysciences either cannot or will not

properly identify the alleged misappropriated trade secrets, Defendants have been subject to a

stipulated Consent TRO since July 2020 that precludes them from fairly competing with

Polysciences, and have incurred significant litigation costs that have forced Serochem (a very

small start-up company) to operate at a loss.

        Federal Rule of Civil Procedure 37(b)(2)(A)(v) gives the Court authority to dismiss an

action in whole or in part -- with or without prejudice -- if it fails to obey a discovery order.

Given that Polysciences’ failure and/or refusal to identify its alleged misappropriated trade

secrets with “sufficient particularity” will be fatal to its claims, and given that Polysciences has

not complied with the Court Order requiring it to do so, and has ignored multiple demands by

Defendants’ that it do so, Defendants Masrud and Serochem seek sanctions pursuant to Rule

37(b) dismissing Polysciences’ claims (Counts I – IV) without prejudice and subject to renewal

if Polysciences identifies the alleged misappropriated trade secrets with the requisite

particularity, and for attorneys’ fees.



        Polysciences filed its Complaint and Motion for a Temporary Restraining Order and

Preliminary Injunction on July 28, 2020, against Defendant Masrud (ECF 1 and 3). On August




                                                  2
        Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 8 of 29




18, 2020, the Court executed the parties’ Stipulated Consent TRO, pursuant to which Masrud

(who is not subject to a non-compete agreement or non-solicit) agreed that he (together with

those in active concert with him) would refrain from selling Serochem’s PEI products to a list of

over 100 customers (ECF 9). Masrud agreed to this Order with the understanding that it would

be temporary and that he would be permitted to fairly defend this action. Instead, Polysciences

has consistently evaded relevant discovery, refused to adequately identify the alleged trade

secrets at issue, and through its AEO designations, deprived Defendants access to key

information relevant to their defense and counterclaims.

        In the meantime, the parties have exchanged extensive written discovery and Masrud has

produced all information necessary for Polysciences to identify whether Defendants’ are using

any of Polysciences’ alleged trade secrets. As such, Polysciences cannot blame its failure to

comply with the Court’s Order on the need for additional discovery from Defendants.

        A.      POLYSCIENCES FAILED TO SUFFICIENTLY IDENTIFY ITS
                ALLEGED MISSAPROPRIATED TRADE SECRETS IN RESPONSE TO
                MASRUD INTERROGATORY NO. 5.

        On August 24, 2020, Masrud (the sole defendant at the time) asked Polysciences to

identify the trade secrets at issue.

        Masrud Interrog No. 5: Describe Plaintiff’s alleged confidential information,
        including trade secrets, proprietary recipes, production procedures, quality control
        procedures, manufacturing processes, pricing strategies, and any other “Trade
        Secrets” referenced in the Complaint that Plaintiff contends Defendant used in the
        manufacture and/or sale of Serochem’s “PEI Prime Powder, Transfection Grade
        Linear Polyethylenimine” and/or “PEI Prime AQ 1 mg/mL Liquid Transfection
        Reagent” products.

Subject to various objections, Polysciences responded:

                Answer to Interrogatory No. 5 (September 17, 2020): Polysciences
        believes Masrud has misappropriated at least the Polysciences Trade Secrets
        identified in response to Interrogatory No. 4. Pursuant to Fed. R. Civ. P. 33(d),
        Polysciences further directs Masrud to the Verified Complaint, the Cease and
        Desist letter sent to Masrud c/o Serochem LLC on July 8, 2020, and Polysciences’


                                                 3
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 9 of 29




       forthcoming documents produced in response to Request for Production Nos. 1, 2,
       3, 4, 7, and 8. Discovery is ongoing. Polysciences reserves the right to amend
       and/or supplement this response, if appropriate, in view of further fact and expert
       discovery, investigation and research regarding the issues raised in this
       Interrogatory.

See Exhibit “A” (Polysciences’ Answer to Masrud’s Interrogatories, Answer to Interrog No. 5
dated September 17, 2020).

       Interrogatory No. 4 asked Polysciences to describe the trade secrets generally referenced

in the Complaint. Id. at Interrog No. 4. Subject to various objections, Polysciences responded:

       Answer to Interrogatory No. 4 (September 17, 2020): Polysciences’ Trade
       Secrets include at least the following: step-by-step, detailed manufacturing
       instructions outlining raw materials, process parameters, and other procedures to
       synthesize the PEI products, prepare the solution, and package the materials;
       design of the PEI chemistry, including molecular weight, molecular structure,
       product form , and process and compounds used to create the desired pH of the
       solution; key raw material supplier data and specifications; sourcing of novel and
       rare supply materials; internal test procedures and methods to determine key
       material characteristics; identification and selection of third party laboratories for
       testing of sterility, mycoplasma, heavy metals and endotoxin; identification and
       selection of third party testing partners to determine transfection efficiency,
       expression, and cell viability; selection of specific sterile filtering process
       parameters to avoid techniques that could adversely impact polymer properties;
       strategy to pursue development for improved solubility; the neutralization process
       and compounds used to produce the desired pH; customer lists including customer
       specific pricing and product specifications, customer contacts, product pricing and
       cost details and strategy, margins, competitive strategy and product positioning,
       and sales history for top PEI products and future forecasts; and receipt of
       confidential information from customers for specific product-related projects.
       Further, Polysciences directs Masrud to the document produced as Attorneys’ Eyes Only
       to Masrud on August 27, 2020. Pursuant to Fed. R. Civ. P. 33(d), Polysciences
       also refers Masrud to Polysciences’ forthcoming documents produced in response
       to Request for Production Nos. 3, 6, 8, 10, 13, and 14, which documents set forth
       in detail the Polysciences Trade Secrets and speak for themselves and are
       produced subject to the confidentiality order and the understanding that the
       order’s terms will be honored even before the order’s entry. Discovery is ongoing.
       Polysciences reserves the right to amend and/or supplement this response, if
       appropriate, in view of further fact and expert discovery, investigation and
       research regarding the issues raised in this Interrogatory.

Id.




                                               4
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 10 of 29




       Polysciences did nothing other than parrot the catch-all categories of trade-secret

information it alleged in its Complaint. By letter dated October 12, 2020, Masrud outlined

Polysciences’ discovery deficiencies. With respect to Polysciences’ Answer to Interrogatory No.

5 he noted:

       Despite the fact that Masrud has produced with specificity Serochem’s research
       and development and manufacturing methods and procedures, Polysciences has
       not identified with any specificity whatsoever the confidential or trade secret
       information that it alleges Masrud disclosed and/or used in the manufacture of
       Serochem’s competing products. Such specificity is required prior to any hearing
       in this matter, and will be required to avoid dismissal of this action.

Exhibit C to Masrud’s Motion to Compel Trade Secret Discovery (ECF 22). The parties held a

meet and confer telephone conference on October 23, 2020, and by letter dated October 30,

2020, Polysciences responded to Masrud’s deficiency letter in writing. ECF 22, Ex. D. With

respect to Interrogatory No. 5, Polysciences responded:

       Polysciences objects to your mischaracterization of Polysciences’ response to this
       Interrogatory. Polysciences correctly referred Masrud to its answer to
       Interrogatory No. 4, where it provided a detailed list of what it considers its
       confidential information and trade secrets that Mr. Masrud misappropriated.
       Polysciences also referred Mr. Masrud to documents produced in response to Mr.
       Masrud’s Request for Production Nos. 1, 2, 3, 4, 7, and 8. Again, this exceeds
       Polysciences’ obligations under the Rules, but please see:

       [List of over 1,582 pages of documents].

Id.

       On November 24, 2020, Masrud filed a Motion to Compel Trade Secret Discovery (ECF

22). In its opposition to the motion (ECF 31) at pp. 10-11, Polysciences took the position that its

citation to a Trade Secret Log (POLYSCIENCES 2258-2260), which is filed under seal at

Exhibit C to ECF 31, adequately identified the trade secrets at issue. This Log, however, is

nothing more than a list of document names with a brief description of the documents listed. For




                                                  5
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 11 of 29




example, it references various sales presentations, batch records, and QC Worksheets, but in no

way identified with particularity any alleged trade secrets.

       B.      POLYSCIENCES REFUSES TO COMPLY WITH THE COURT’S JULY 6,
               2021 ORDER (ECF 47) COMPELLING IT TO IDENTIFY THE ALLEGED
               MISAPPROPRIATED TRADE SECRETS WITH “REASONABLE
               PARTICULARITY” IN RESPONSE TO MASRUD INTERROG NO. 5

       By Order dated July 6, 2021 (ECF 47) and attached hereto as Exhibit “B”, the Court

granted Masrud’s Motion to Compel Trade Secret Discovery and ordered Polysciences to

supplement its answer to Masrud’s Interrogatory No. 5 “setting forth with reasonable

particularity the trade secrets that Polysciences claims were misappropriated.” (Emphasis

added). In response, Polysciences supplemented its answer to Interrogatory No. 5, in relevant

part, as follows:

       Supplemental Answer to Interrogatory No. 5 (July 20, 2021): . . . The key
       trade secrets relied and used by Serochem, Masrud and Griffin fall into the
       following categories: (1) the identity of Polysciences’ customers for its PEI
       Products, particularly the customer specific volumes and product specific
       technical requirements (and sales strategy relating to said customers); (2)
       Polysciences’ revenue and profits of its PEI Products, including, without
       limitation, customer specific pricing arrangements not publicly disclosed; and (3)
       the PEI product manufacturing details including key raw material requirements,
       product formulation, product batch records and testing of Polysciences’ PEI
       Products. Serochem, Masrud, and Griffin used their knowledge of these secrets to
       manufacture and/or sell Serochem’s PEI Prime Powder, Transfection Grade
       Linear Polyethylenimine and/or “PEI Prime AQ 1 mg/mL Liquid Transfection
       Reagent” products, which are essentially knock offs of the Polysciences’ PEI Max
       and PEI Transporter 5 products.

       By way of further answer, Polysciences asserts that the specific Polysciences
       Trade Secrets used by Serochem, Masrud and Griffin are contained in documents
       previously identified on September 17, 2020, Polysciences’ Trade Secret Log
       (POLYSCIENCES0002258-2260), which documents identified in the log
       describe in detail the Polysciences trade secrets. Polysciences then directed
       Masrud to these specific trade secret documents by providing Bates numbers in a
       letter to counsel, dated October 30, 2020. However, Polysciences now further
       reiterates that these documents contain the Polysciences Trade Secrets and
       specifically identifies the following documents that contain Polysciences Trade
       Secrets used by the Defendants to launch the Serochem PEI Products:



                                                 6
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 12 of 29




       Batch Records from PEI Max (M.W. 40,000):
              [listing 171 pages of batch records (i.e. manufacturing instructions)]

       Batch Records from Transporter 5:
              [listing 109 pages of batch records]

       Polysciences’ Customer List and Financial Information Relating to Polysciences’
       PEI Products:
              [listing 303 pages of information]

       Formulation Considerations (e.g., considerations of using acetone v.
       tetrahydrofuran; considerations in hydrolysis reaction time):
              [listing 463 pages of information]

It further obfuscated by stating that:

       While not an exhaustive list, these documents contain information relating to
       Polysciences’ sales and profitability of its PEI Products, formulation of its PEI
       Products, manufacturing and testing of its PEI Products, marketing and pricing
       strategies of its PEI Products, and customers it sells its PEI Products to. Thus,
       these documents help define Polysciences’ Trade Secrets. Masrud had access to
       all of the aforementioned documents during his tenure at Polysciences. Therefore,
       these documents show the specific type of information Polysciences believes
       Masrud misappropriated and used in the manufacture and/or sale of Serochem’s
       PEI Prime Powder, Transfection Grade Linear Polyethyleneimine and/or “PEI
       Prime AQ 1 mg/mL Liquid Transfection Reagent” products.

Exhibit “A” (Polysciences’ Second Supplemental Answer to Interrogatories,

Supplemental Answer to Interrog No. 5 dated July 20, 2021).

       In short, Polysciences continued to rely on catch-all categories of information and its

citation to over 1,000 pages of documents designated AEO. Once again, it provided no

indication as to precisely what information within those documents it alleges constitutes a

misappropriated trade secret.

       By letter dated July 29, 2021, Masrud informed Polysciences that it had not complied

with the Court’s Order. Exhibit “C,” pp. 2-4. He warned Polysciences that he would be filing a

motion seeking any and all sanctions available under the rules (including dismissal of

Polysciences’ claims) if Polysciences did not cure the deficiency. Id. pp. 1, 4. Polysciences



                                                7
        Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 13 of 29




responded by letter dated August 6, 2021, taking the position that it sufficiently identified the

alleged misappropriated trade secrets by “categorizing” the trade secrets (e.g. identity of

customers, customer specific volumes, Polysciences PEI revenue and profits, customer specific

pricing arrangements, and product manufacturing details etc.) and by providing “examples” of

documents that fall into these categories (emphasis added). Exhibit “D,” p. 6. It argued that

Masrud should somehow be “able to readily identify the alleged misappropriate trade secrets,”

based upon the categories of information it identified. Id.

        By letter dated August 30, 2021, Masrud requested an immediate stay of any further

discovery by Polysciences pending its compliance with the Court Order. Exhibit “E.” By letter

response dated August 31, 2021, Polysciences again took the inexplicable position that

“[b]etween the specific description provided by Polysciences’ [i.e. the catch-all categories] and

the specific documents listed [consisting of over 1,000 pages of information], Defendants’

counsel can readily identify the misappropriated trade secrets.” Exhibit “F,” p. 2. Masrud’s

letter request is still pending.

        C.      POLYSCIENCES CONTINUES TO REFUSE TO IDENTIFY THE
                ALLEGED MISAPPROPRIATED TRADE SECRETS WITH
                “REASONABLE PARTICULARITY” IN RESPONSE TO SEROCHEM
                INTERROG NOS. 1-3.

        In an effort to avoid continued motions on this issue, Serochem (which was added as a

defendant on June 15, 2021), served its First Set of Interrogatories directed to Polysciences on

October 20, 2021. It served additional trade secret interrogatories in an effort to discover the

particularity ordered by the Court. For example, it asked Polysciences for the following:

         Serochem Interrogatory No. 1: Identify with specificity each Serochem raw
        material requirement, product formulation, manufacturing method, production
        protocol, equipment used, equipment parameters, production specification, or
        testing procedure that Plaintiff contends constitutes use by Serochem of
        Polysciences’ trade secrets and/or confidential information.



                                                 8
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 14 of 29




        Serochem Interrogatory No. 2: To the extent Plaintiff contends that Serochem
       is using a particular combination or compilation of known raw material
       requirements, product formulations, manufacturing methods, production
       protocols, equipment, equipment parameters, product specification, and/or testing
       procedures that it contends constitutes a unique combination that embodies a trade
       secret belonging to Polysciences, identify with specificity the unique
       combination.

Exhibit “G” (Polysciences Answers to Serochem Interrogatories at Interrog Nos. 1 and 2)

(unredacted version to be filed under Seal).

       By asking Polysciences to identify the alleged misappropriated information by reference

to Serochem’s (as opposed to Polysciences’) information, Defendants hoped to avoid receiving a

response that consisted only of catch-all categories and citation to Polysciences’ document

production – access to which Defendants have been denied due to AEO designations. However,

that is precisely what they got. Polysciences’ designated its responses to Interrogatory Nos. 1

and 2 AEO, and referred Defendants to AEO documents in response to Interrogatory No. 3,

despite the fact that no substantial harm can come from identifying to a competitor the

information it allegedly stole!2

       In response to Interrogatory No. 1 Polysciences referenced (without specificity) the same

catch-all categories (e.g. raw material, product formulation, production protocol, equipment,

equipment parameters, product specifications, and testing procedures) that it identified before

Masrud’s motion to compel was granted and stated “there is evidence of Serochem’s reliance

on Polysciences’ trade secrets which will be addressed more fully in Polysciences’ expert

report(s) at the appropriate time.” It then stated that a comparison of Polysciences’ and

Serochem's respective batch records show “workflow” similarities, that will be “detailed” in




2
 Masrud’s Motion to De-Designate Polysciences’ AEO Production and for Sanctions is
currently pending. ECF 38, 43.


                                                9
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 15 of 29




Polysciences’ expert report(s) that will be provided at the appropriate time. Experts reports are

generally due at or after the close of discovery. This answer is in direct violation of the Court’s

Order requiring Polysciences to identify the trade secrets at issue with “reasonable

particularity” on or before July 10, 2021, and defies Polysciences’ obligation during discovery

and prior to any expert report deadlines to identify its alleged misappropriated trade secrets with

reasonable particularity so that defendants can adequately prepare their defense and the Court

can adequately fashion any injunctive relief.

       While Polysciences did provide an “example” of 6 alleged workflow similarities, each of

the examples provided are based on either public information or industry know how. For

example, according to Polysciences:




                                            REDACTED




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Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 16 of 29




                             REDACTED




                                                                    .



                               11
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 17 of 29




                                                     REDACTED




       Because none of these similarities are secret, Polysciences asserted -- for the first time in

this litigation – that Defendants misappropriated a “unique combination or compilation” of “raw

material requirements, product formulations, manufacturing methods, production protocols,

equipment, equipment parameters, product specifications, and testing procedures.” Exhibit “G”

(December 3, 2021 Answer to Serochem Interrog No. 2). Notably, Polysciences made no

“compilation” allegation in its Complaint, its Amended Complaint, its initial answer to Masrud

Interrogatory No. 5, or in its July 29, 2021 supplemental answer to Masrud Interrogatory No. 5

compelled by the Court. Once again, however, Polysciences did not identify at all any specific

combination or compilation that it contends is a trade secret, much less identify one with




                                                12
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 18 of 29




“reasonable particularity.” Rather, it claimed that all of its catch-all categories are a compilation

and referred Serochem to dozens of Polysciences batch records and quality control/quality

assurance documents (all of which are designated AEO), expecting Defendants’ counsel and/or

expert to parse through 579 pages (containing ample information that is no secret) and figure out

precisely what Polysciences contends is the proprietary compilation or combination.

       Finally, in further avoidance of its discovery obligations and the Court’s Order,

Polysciences made no attempt to provide an explanation as to why each alleged similarity (or

other alleged trade secret) is unique, distinct and qualified for protection or to differentiate them

from matters of general knowledge in the trade, special knowledge of persons skilled in the

trade, or publicly available information. This information was required by the Court Order as it

is part of identifying a trade secret with “reasonable particularity,” and Serochem Interrogatory

No. 3 specifically asks for this information.

       Serochem Interrogatory No. 3: For each trade secret identified in response to
       Interrogatory Nos. 1 and 2 provide all facts that support Polysciences trade secret claim,
       including without limitation by, identifying: . . . (b) the specific nature and functionality
       of each alleged trade secret which makes it a trade secret, and (c) what makes the alleged
       trade secret unique and not commonly known in the industry or the general public.

       In response, Polysciences did not provide any facts to explain the specific nature and

functionality of any alleged trade secret, much less of each alleged trade secret, and it simply

responded that “the trade secrets are unique because they are not generally known in the

industry” (i.e. they are unique because we say so). It provided no other specifics or support for

this allegation other than to claim that Polysciences has few competitors, makes lots of money

selling its products, which it self-servingly claims are “renowned for high quality,” and

maintains the confidentiality of its alleged trade secrets. Id. While these facts (assuming they




                                                 13
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 19 of 29




are true) may be relevant in a trade secret action – they do not identify the trade secrets with

“reasonable particularity.”

       By letter dated January 21, 2022, Defendants asked, in light of the Court’s Order, that

Polysciences: (a) supplement its responses to Masrud Interrogatory No. 5 and Serochem

Interrogatory Nos. 1-3; (b) clarify whether it is alleging that the similarities identified in response

to Serochem Interrogatory No. 1 are alleged trade secrets; and (c) clarify whether its Answers to

Serochem Interrogatory Nos. 1-3 are also responsive to Masrud Interrogatory No. 5. Exhibit

“M.” Defendants also pointed out that Polysciences cannot wait until its expert report deadline

to identify with “reasonable particularity” the alleged misappropriated trade secrets.

       By letter dated January 28, 2022, Polysciences refused to supplement its responses,

claiming that it has put Defendants sufficiently “on notice” of its claims. Exhibit “N.” It

refused to answer whether it considers each of the alleged 6 similarities to be trade secrets.

Instead – without admitting or denying that the alleged similarities are “known” -- it stated that a

compilation of information can constitute a trade secret, but refused to provide any particularity

with respect to the alleged proprietary compilation(s). And, although it did not clarify whether

its answers to Serochem Interrogatories 1-3 are also responsive to Masrud Interrogatory No. 5, it

cited to these answers in support of its position that it has complied with the Court’s Order. At

the same time, however, it admitted that it intends to wait until its expert report deadline to

disclose “how defendant’s misappropriated [its] Trade Secrets.”



       A.      POLYSCIENCES HAS NOT COMPLIED WITH THE COURT’S ORDER

       By Order dated July 6, 2021, the Court Ordered Polysciences to supplement its answer to

Masrud’s Interrogatory No. 5 by setting forth with “reasonably particularity” the trade secrets

that Polysciences claims were misappropriated. (ECF 47) (emphasis added). Despite this Order,


                                                  14
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 20 of 29




Polysciences continues to identify its alleged trade secrets by catch-all categories and by general

citation to over 1,000 pages of documents, asserting that virtually everything about its PEI

products is a trade secret. And, while it now alleges that its trade secrets are derived from a

“combination” or “compilation” of information, it has not identified any alleged compilation

with particularity. Rather it continues to rely on catch-all categories and citation to its document

production without any further specificity and without pointing defendants to any specific

information within the documents. This does not comply with the Court’s Order requiring it to

identify its trade secrets with “reasonable particularity.”

       “Reasonable particularity” requires a specific list and description of the alleged trade

secrets and confidential information and not ‘general allegations or general reference’ to

categories or processes.” Arconic, Inc. v. Novelis Inc., No. 17-1434, 2019 WL 10787764, at *1

(quoting Hill v. Best Medical Int’l, Inc., Nos. 07-1709, 08-1404, 2010 WL 2546023, at *4 (W.D.

Pa. June 24, 2010)) (emphasis added). It requires the plaintiff to identify each trade secret or

item of confidential information with “sufficient particularity” so that the reader understands

how each claim differs from public domain information, including public patent filings. Id.

citing USSA v. Mitek Systems, Inc., 289 F.R.D. 244, 249 (W.D. Tex. 2013). See also, Arconic,

Inc. v. Novelis Inc., No. 17-1434, 2020 WL 7247112, *11 (W.D. Pa. Dec. 9, 2020) (quotations

omitted) (“[p]laintiff must identify the specific characteristics of each trade secret, such as a

particular drawing, process, procedure or cost/pricing data.” Such “specificity is required so that

defendant can defend himself adequately against claims of trade secret misappropriation, and can

divine the line between secret and non-secret information, and so that the jury can render a

verdict based on a discriminating analysis of the evidence of disclosure and misappropriation.”).

       Where an asserted trade secret or item of confidential information is an alleged




                                                  15
         Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 21 of 29




“combination of known components,” plaintiff must specifically describe what the particular

combination of components is, how these components are combined a secret process, and how

they operate in such combination to meet the legal requisites of a trade secret. Arconic, 2019

WL 10787764 at *1 (quoting Hill, 2010 WL 2546023 at *4,n. 8 (citing Struthers Sci and Int’l

Corp. v. General Foods Corp., 51 F.R.D. 149 (D. Del. 1970)). Unspecified trade secret

combinations and catch-all categories do not meet the “reasonable particularity” standard.

Id. at *2. See also, Synygy, Inc. v. ZS Associates, Inc. et al., 2013 WL 3716518, *2 (July 15,

2013) (general allegations and generic references to products or information is insufficient to

satisfy the reasonable particularity standard); AutMed Techs., Inc. v. Eller, 160 F. Supp. 2d 915,

926 (N.D. Ill. 2001) (same).

         In Mallet, the Third Circuit vacated a preliminary injunction order because neither the

District Court nor the plaintiff identified the alleged trade secrets with sufficient particularity. 16

F.4th 364 (3d Cir. 2021). The court reasoned that a trade secret misappropriation claim cannot be

evaluated until the plaintiff has sufficiently described the trade secrets, which requires, at a

minimum, that “the subject matter of the trade secret . . . be described with sufficient

particularity to separate it from matters of general knowledge in the trade or of special

knowledge of those persons who are skilled in the trade, and to permit defendant to ascertain at

least the boundaries within which the secret lies.” Id. at 381-3 (quotations omitted).10 It noted

the ability to make this distinction was especially important where -- as here -- those boundaries

may not be clear. Id. at 383.

         These boundaries were unclear in Mallet given that some of the formulas at issue were



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   See also, Merck Sharp & Dohme Corp. v. Pfizer Inc. et al., 2021 WL 264693, * 2 (E.D. Pa. June 28, 2021)
(reasonable particularity in a trade secret action requires a description that is particular enough to separate the trade
secret from matters of general knowledge in the trade or of special knowledge of persons skilled in the trade).


                                                           16
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 22 of 29




publicly disclosed, and one cannot distinguish between what is generally known or available

information and what the plaintiff contends to be a protectable trade secret, when, “with a wave

of the hand, the plaintiff declares everything to be secret know-how.” Id. Similarly, much of the

information that Polysciences alleges is a secret is either industry know-how, publicly available,

or within Defendants’ knowledge as both Masrud and Griffin are skilled in the trade. Likewise,

Polysciences has declared everything to be secret know-how. Just as Mallet’s broadly stated

categories of information (such as formulas, pricing information, strategies, and marking

information) was not specific enough, nor are the categories of information provided by

Polysciences (such as identity of customers, customer specific volumes, revenue and profits,

manufacturing details, etc). Id. at 384.

        [Mallet] did not identify which formulas it referred to, nor did it describe any
       characteristics or properties contributing specific competitive value to Mallet that
       could serve as a marker for separating Mallet’s formulas from publicly available
       information of generally known formulas in the industry. . . [Categories such as]
       ‘pricing and volume data’ and ‘Mallet’s training materials showing how it
       markets and sells its products’ . . . fare no better than . . . ‘pricing information,
       strategies, and marketing information. . . . Specific examples are needed [to
       support an injunction].

Id.

       Citing Oakwood Lab’ys LLC v. Thanoo, 999 F.3d 892 (3d Cir. 2021), Polysciences has

taken the position that it has sufficiently put Defendants on notice of its claim because it

identified trade secrets by category and generally cited bates numbered documents that relate to

these general categories of information. Exhibit “M,” p. 1 (J. Lagarenne letter dated January 28,

2022). As stated above, this is not enough. Moreover, in Oakwood, the Third Circuit held that

the Plaintiff met the “sufficient particularity” standard because it “gave a very precise example”

of the alleged trade secrets by pointing to a Memo, specifying the contents of the memo that

contained the trade secrets, and attaching other documents that specified “in detail” the secrets it



                                                 17
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 23 of 29




accused Defendants of stealing. Oakwood, 999 F.3d at 907. Polysciences has not done so here.

Rather – just as it did before the Court granted Masrud’s Motion to Compel – it continues to

generally cite over 1,000 pages of documents in their entirety, without reference to any specific

information contained in those documents.

        Merely citing to a list of bates-numbered documents does not identify trade secrets with

“sufficient particularity.” Mallet 16 F.4th at 393, n. 23 (noting that the range of bates-numbered

documents, exhibits, and deposition testimony to which Mallet cited did not identify any trade

secrets with “sufficient particularity”); See also, Mextel, Inc. v. Air-Shields, Inc. et al., No. 01-

CV-7308, 2005 WL 226112, * 42 (E.D. Pa. Jan. 31, 2005) (granting summary judgment on

trade secret claim for defendant in part because plaintiff’s reliance on its document production

did not indicate ownership of the information and did not identify what information in the

documents is a trade secret).

        Equally important, Oakwood, involved a 12(b)(6) motion to dismiss on the pleadings.

The Third Circuit held that the plaintiff’s complaint sufficiently identified the trade secrets at

issue. In so doing, it noted that at the pleading stage, “a plaintiff need not ‘spell out the details of

the trade secret to avoid’ dismissal,” given that requiring such precision at the pleadings stage

ignores the challenges faced when only discovery will reveal exactly what the defendants are up

to. Id. at 906, 907. Such details, however, are required during discovery. 11 Polysciences has



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  “[D]eciding whether a plaintiff has sufficiently disclosed its trade secrets is a ‘fact-specific
question to be decided on a case-by-case basis.’” Id. at 906 (internal quotation marks omitted)
(quoting Vesta Corp. v. Amdocs Mgmt. Ltd., 147 F. Supp. 3d 1147, 1155 (D. Or. 2015). District
courts must engage with the specific facts of the case and consider the degree of specificity
necessary in light of the particular industry-based context and the stage of litigation – whether
that be a motion to dismiss, a discovery dispute, a motion to preliminarily enjoin a defendant
from competing with the trade secret plaintiff, or a summary judgment motion. Mallet and Co.
Inc. v. Lacayo et al., 16 F.4th 364, 393, n.22 (3d Cir. 2021) (citing Vesta Corp., 147 F. Supp. at



                                                  18
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 24 of 29




had the benefit of over a year of discovery from Defendants and third-parties and the production

by Defendants of all information necessary to determinate what they have been up to. At this

stage in the litigation, Defendants should not be expected to guess at what specific trade secrets

may exist. See, e.g., Synygy, Inc. v. ZS Associates, Inc. et al., No. 07-3536, 2013 WL 371658, *5

(E.D. Pa. July 15, 2013) (granting defendants’ motion to compel identification of the trade

secrets as defendant should not have to guess at what they are).

       Unlike Oakwood, Mallet is directly on point. And, as reasoned by the Court in Mallet

when it vacated the preliminary injunction, where the breadth of a trade secret is so far-

reaching that it includes publicly available information (like patent and other public

disclosures) and industry knowledge, that information is not specific enough to be accorded

trade secret status. 16 F.4th at 384. Where the list is too general, it will encompass material that

the defendant will be able to show cannot be secret. Id. citing Oakwood, 999 F.3d at 907. As

such, “care must be taken to not allow a plaintiff in a trade secret misappropriation case to make

generalized claims that leave a defendant wondering what the secrets at issue might be.” Id.

(quoting Oakwood, 999 F.3d at 907).

       Arconic is also on point. 2020 WL 7247112. In Arconic, the Court dismissed plaintiff’s

claims with prejudice after it repeatedly failed during discovery to disclose its alleged

misappropriated trade secrets with sufficient particularity. In finding that the plaintiff had failed

to identify the trade secrets with “reasonable particularity” it noted that the Plaintiff did not

identify each and every claimed trade secrets with “clear explanations about why each was

unique.” Id. *15. It also noted that the plaintiff continued to claim every permutation of the



1153). Now that Defendants have disclosed all information necessary for Polysciences to
determine whether and how Defendants misappropriated its trade secrets, nothing prevents it
from disclosing the alleged misappropriated trade secrets with detailed particularity.


                                                  19
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 25 of 29




combination of 16 parameters as a trade secret without “explaining how portions of a

combination of steps created each separate, specific trade secret.” Id.

        For combinations, Arconic was required to describe specifically not only what the
        particular combination of components was, but also how those components were
        combined in a secret process, how the combination operated to meet the legal
        requisites of a trade secret, and how each claimed trade secret combination
        differed from every other claimed trade secret. . . . Arconic never explained the
        difference between its trade secrets and the general skill in the art or [defendants’]
        pre-existing knowledge. Arconic never explained how any of the 288 claimed
        trade secrets was distinct and qualified for protection.

Id. As the court concluded: “[c]laiming that everything was a trade secret – without identifying

anything with specificity – meant that nothing was protected.” Id. at *16 quoting IDX Sys.

Corp. v. Epic Sys. Corp., 285 F.3d 581, 583 (7th Cir. 2002). (Emphasis added). A party cannot

bring a misappropriation claim without adequately describing what was stolen, and it is not the

court (or the defendants’) job to parse out the trade secrets from the public-facing functions. Id.

        Like Arconic and Mallet, Polysciences continues – even after all relevant discovery – to

sweepingly allege that everything is a trade secret, which is tantamount to admitting that nothing

is a trade secret. It has also made no effort to identify each and every claimed trade secret with

“clear explanations about why each was unique,” distinct and qualified for protection. Nor has it

explained the difference between its alleged trade secrets and the general skill in the art,

defendants’ pre-existing knowledge, or information that is otherwise publicly available.

Moreover, while it now alleges its trade secrets are derived from a “combination” or

“compilation” of information, it has made no effort to specifically describe the particular

combination of components, how the components are combined in a secret process, how the

combination operates to meet the legal requisites of a trade secret, and how each claimed trade

secret combination differs from every other claimed trade secret. Not only is Polysciences

therefor in contempt of court, its inability and/or willful refusal to provide these particularities is



                                                  20
        Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 26 of 29




fatal to its claims.

        B.      DUE TO ITS CONTEMPT POLYSCIENCES’ AMENDED COMPLAINT
                SHOULD BE DISMISSED WITHOUT PREJUDICE PURSUANT TO
                RULE 37(b)

        Federal Rule of Civil Procedure 37(b)(2)(A)(v) provides in relevant part that if a party

fails to obey an order to provide or permit discovery, the court may issue further just orders

including dismissing the action or proceedings in whole or in part. All of Polysciences’ claims

are contingent upon its ability to prove the existence and misappropriation of its confidential

and/or trade secret information. Its repeated refusal to identify its misappropriated confidential

information and/or trade secrets with sufficient particularity warrants dismissal of its claims.

        In Arconic, the plaintiff repeatedly failed during discovery to precisely describe what

trade secret or confidential information defendant allegedly misappropriated. Noting that this

failure constituted a substantive flaw that may be fatal to the merits of its claims, the Court

initially dismissed its misappropriation and breach of confidentiality claims without prejudice,

with the right to seek reinstatement if Arconic made an identification with reasonable

particularity. Id. *9-10, 13-14. When Arconic failed -- after a full opportunity to show the court

where, in its submissions, it had identified any trade secrets or confidential information with

“reasonable particularity” -- the Court dismissed Plaintiffs claims with prejudice reasoning that

both summary judgment and dismissal as a sanction were warranted. Id. at *13-18. This Court

should do the same here and dismiss Polysciences’ claims (Counts I – IV) without prejudice and

subject to renewal if Polysciences identifies the alleged misappropriated trade secrets with the

requisite particularity. If Polysciences does not or cannot do so, the Court should then dismiss

Plaintiff’s claims with prejudice.

        While dismissal with prejudice is a drastic sanction that must be used as a last resort,

Defendants seek dismissal without prejudice to provide Polysciences one last opportunity to


                                                 21
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 27 of 29




comply with the Court’s Order. It should be noted, however, that while Defendants do not seek

dismissal with prejudice at this time, all but one of the factors warranting dismissal with

prejudice exist.

        Dismissal with prejudice is an appropriate sanction when the “Poulis factors” are met.

These factors are: (1) the extent of the party’s personal responsibility; (2) the prejudice of the

adversary caused by the failure to respond to discovery; (3) a history of dilatoriness; (4) whether

the conduct of the party or the attorney was willful or in bad faith; (5) the effectiveness of

sanctions other than dismissal, and (6) the meritoriousness of the claims. Poulis v. State Farm

Fire & Cas. Co., 747 F.2d 863, (3d Cir. 1984). As to factor number (5), Defendants concede that

the alternative sanction of dismissal without prejudice may be effective. Every other Poulis

factor warranting dismissal with prejudice exists.

        (1) Polysciences’ personal responsibility. Polysciences bears primary responsibility for

its failure to identify any trade secrets with particularity as it filed this action knowing that all

information necessary to make a competing PEI transfection reagent is available publicly and/or

based on industry knowledge/skill in the trade. It knowingly brought this action for the sole

purpose of preventing fair competition.

        (2) Prejudice to Defendants. Serochem is a small start-up company with limited funds. It

has been forced to incur substantial litigation costs, which have been exacerbated by the

necessity to file continuous deficiency letters and motions that should be unnecessary and by the

lingering of a case that lacks merit. In addition, Defendants have been subject to a stipulated

TRO that has been in place since August 7, 2020 (ECF 8), which prevents them from fairly

competing with Polysciences.




                                                   22
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 28 of 29




        (3) History of dilatoriness. Polysciences has continuously evaded proper identification of

the alleged misappropriated trade secrets since the inception of this case despite Masrud’s initial

deficiency letters, the Court’s July 6, 2021 Order, Masrud’s July 29, 2021 letter warning

Polysciences that he would seek dismissal of Polysciences’ claims (Exhibit “C”), Defendants’

August 30, 2021 letter to the Court (Exhibit “E”), Serochem’s supplemental trade secret

interrogatories (Exhibit “G”), and Defendants’ final deficiency letter (Exhibit “M” dated January

21, 2022).

        (4) Polysciences’ refusal to comply with the Court’s Order is willful and in bad faith.

Again, the fact that it has sweepingly alleged that everything about its products (even

information that is in the public domain and based on industry knowledge) is a trade secret

suggests otherwise. As in Arconic, there is no other reasonable explanation for its continued

efforts to “hide to the ball.”

        (6) Meritoriousness of the claims. A party cannot succeed on a trade secrets claim if the

party cannot identify with “reasonable particularity” what its trade secrets are, and its failure

and/or refusal to goes to the heart of the lack of substantive merit. Arconic, 2020 WL 7247112 at

*18 (citations omitted).



        For the reasons set forth herein, Defendants respectfully request that the Court grant this

motion and enter an order in the form attached hereto dismissing Polysciences’ claims (Counts I

– IV) without prejudice and subject to renewal if it identifies the alleged misappropriated trade

secrets with the “requisite particularity” identified in the proposed Order without reference to

catch-all “categories” of trade secrets (see Arconic, 2019 WL 10787764 at *2 requiring plaintiff

to identify its claimed “combination” without reference to catch-all categories) and without




                                                 23
       Case 2:20-cv-03649-PBT Document 64-1 Filed 02/04/22 Page 29 of 29




reference to documents unless it specifies the contents of the document that contain the trade

secrets. In addition, because Defendants incurred significant and unnecessary attorneys’ fees in

connection with having to file this motion relating to Polysciences’ contempt, Masrud and

Serochem also seek an award of attorney’s fees and costs pursuant to Federal Rule of Civil

Procedure 37(b)(2)(C) which requires the party that fails to comply with a Court Order to pay the

reasonable expenses (including attorneys’ fees) caused by that failure.



Dated: February 4, 2022                      HOMANS PECK LLC

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                                                24
